
Deadeeick, J.,
delivered the opinion of the court.
This is an action brought in the First Circuit Court of Memphis, by Mabry, against the City of Memphis, for interest on certain deposits of city scrip-made by Mabry with the city treasurer, and afterward assigned to third parties.
The assignment of the' principal, in the absence of an agreement to the contrary, carries the interest with it.
The amount of the deposits was paid to the parties to whom they were assigned, without demand of interest.
The proof is conflicting as to whether, by agreement, interest was payable; — one party understanding *540that it was to be paid, the other not so understanding.
The parties waived a jury trial, and submitted the ease to Judge Heiskell, who found the facts in favor of the city, and gave judgment accordingly, from which Mabry has appealed.
We see nothing in the record for which we can reverse.
We have decided at the present term, that where facts are submitted to a judge instead of a jury, his finding is to have the same force, on review in this court, as if the facts had been passed upon by a julT-
Let the judgment be affirmed.
